   Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 1 of 91 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

DIGI PORTAL LLC,
                                                     C.A. NO. ______________
                      Plaintiff,
   v.                                                JURY TRIAL DEMANDED

THRYV, INC.,                                         PATENT CASE

                      Defendant.

               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Digi Portal LLC files this Original Complaint for Patent Infringement against

Thryv, Inc. and would respectfully show the Court as follows:

                                       I. THE PARTIES

        1.     Plaintiff Digi Portal LLC (“Digi Portal” or “Plaintiff”) is a Texas limited liability

company with a place of business at 101 E. Park Blvd, Suite 600, Plano, Texas 75074.

        2.     On information and belief, Defendant Thryv, Inc. (“Defendant”) is a corporation

organized and existing under the laws of Delaware, with a place of business at 2200 W. Airfield

Drive, DFW Airport, TX 75261. Defendant has a registered agent at The Corporation Trust

Company, Corporation Trust Center, 1209 Orange St, Wilmington, DE 19801.

                              II. JURISDICTION AND VENUE

        3.     This action arises under the patent laws of the United States, Title 35 of the

United States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§

1331 and 1338(a).

        4.     On information and belief, Defendant is subject to this Court’s specific and

general personal jurisdiction, pursuant to due process and the Delaware Long-Arm Statute, due

at least to its business in this forum, including at least a portion of the infringements alleged




                                                 1
   Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 2 of 91 PageID #: 2




herein.        Furthermore, Defendant is subject to this Court’s specific and general personal

jurisdiction because Defendant is a Delaware corporation.

          5.       Without limitation, on information and belief, within this state, Defendant has

used the patented inventions thereby committing, and continuing to commit, acts of patent

infringement alleged herein. In addition, on information and belief, Defendant has derived

revenues from its infringing acts occurring within Delaware. Further, on information and belief,

Defendant is subject to the Court’s general jurisdiction, including from regularly doing or

soliciting business, engaging in other persistent courses of conduct, and deriving substantial

revenue from goods and services provided to persons or entities in Delaware. Further, on

information and belief, Defendant is subject to the Court’s personal jurisdiction at least due to its

sale of products and/or services within Delaware. Defendant has committed such purposeful acts

and/or transactions in Delaware such that it reasonably should know and expect that it could be

haled into this Court as a consequence of such activity.

          6.       Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant is a Delaware corporation and therefore resides only in Delaware.               On

information and belief, from and within this District Defendant has committed at least a portion

of the infringements at issue in this case.

          7.        For these reasons, personal jurisdiction exists and venue is proper in this Court

under 28 U.S.C. § 1400(b).

                                III. COUNT I
          (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 8,352,854)

          8.       Plaintiff incorporates the above paragraphs herein by reference.

          9.       On January 8, 2013, United States Patent No. 8,352,854 (“the ‘854 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘854 Patent is



                                                    2
   Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 3 of 91 PageID #: 3




titled “Dynamic Page Generator.” The ‘854 patent is not subject to a terminal disclaimer and its

term is extended under 35 U.S.C. 154(b) by 1270 days. (Ex. A). A true and correct copy of the

‘854 Patent is attached hereto as Exhibit A and incorporated herein by reference.

       10.      Digi Portal is the assignee of all right, title and interest in the ‘854 patent,

including all rights to enforce and prosecute actions for infringement and to collect damages for

all relevant times against infringers of the ‘854 Patent. Accordingly, Digi Portal possesses the

exclusive right and standing to prosecute the present action for infringement of the ‘854 Patent

by Defendant.

       11.      The application leading to the ‘854 patent is a continuation of U.S. application

Ser. No. 11/656,636, filed Jan. 22, 2007, which is a continuation of U.S. application Ser. No.

09/393,718, filed Sep. 10, 1999, which is a continuation of U.S. application Ser. No. 08/873,975,

filed Jun. 12, 1997. (Ex. A at cover). The ‘854 patent was first assigned to Yahoo! Inc. (Id.).

       12.      The invention in the ‘854 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:26-30).

       13.      Web servers for serving static web pages were well known in the global Internet.

(Id. at col. 1:31-32).   Such static web pages are useful in many applications whether the

information presented to each requesting user is the same. (Id. at col. 1:32-34). However, some

applications require customization to appeal to users. (Id. at col. 1:34-35). One example is

presenting news to users. (Id. at col. 1:35-37). When static pages are used, a user will often

have to scroll through many topics not of interest to that user to get to the information of interest.

(Id. at col. 1:37-40). However, when presenting news to users, customized web pages present




                                                  3
   Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 4 of 91 PageID #: 4




news that is more relevant to the requesting user than static pages because the information is

filtered according to each user’s interest. (Id. at col. 1:35-37, 40-41).

       14.     Customizing a server response based on the requester is known; however, known

systems do not scale well. (Id. at col. 1:42-43). One method of serving custom pages is to

execute a script, such as a Common Gateway Interface (CGI) script or other program to collect

the information necessary to generate the custom page. (Id. at col. 1:43-47). For example, if the

custom page is a news page containing stock quotes, sports scores and weather, the script might

poll a quote server to obtain the quotes of interest, poll a sports score server to obtain the scores

of interest and poll a weather server to obtain the weather. (Id. at col. 1:47-51). With this

information, the server generates the custom page and returns it to the user. (Id. at col. 1:51-52).

This approach is only useful where there are not many requesters and where the attendant delay

associated with polling various servers to obtain the requested information is acceptable to users.

(Id. at col. 1:53-54). Growing impatience with waiting will turn users away from such servers,

especially as use increases. (Id. at col. 1:54-58).

       15.     One approach that was used in the prior art to avoid long waits is to transfer the

custom information in non-real-time, so that the information is stored local to the user as it

arrives and is presented to the user on request. (Id. at col. 1:59-62). A disadvantage of such a

system is that the networks used by the user become clogged with data continually streaming to

the user and require large amounts of local storage. (Id. at col. 1:62-65). Another disadvantage

is that the locally stored information will become out of date as the server receives new data. (Id.

at col. 1:65-67).

       16.     The inventors therefore recognized that there was a need to dynamically generate

customized pages in an unconventional manner that solved the technical problems in the prior art




                                                  4
   Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 5 of 91 PageID #: 5




of long transfer times to obtain the requested information or having to rely on continually

transferring custom information in non-real time which can clog the data network in addition to

providing outdated information. (Id. at col. 1:42 to col. 2:2).

       17.      The following is a discussion of non-limiting examples of the claimed invention

discussed in the specification of the ‘854 patent. The ‘854 patent provides a non-limiting

exemplary diagram of the generation of a custom page for a user, using a front-page generator

(200) and page server (104) (Id. at col. 3:58-60):




(Ex. A at Fig. 2). Front page generator (200) generates a user template (202) from a global front

page template (204) and a user configuration record (206). (Id. at col. 3:58-62). A non-limiting

example of a global front page template is provided in the ‘854 patent:


                                                 5
   Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 6 of 91 PageID #: 6




(Ex. A at Fig. 3). The global user template (204) is an HTML (HyperText Markup Language)

document with additional tags as placeholders for live data. (Id. at col. 5:16-19). Several place

holders (302) are show in the code. (Id. at col. 5:19).

       18.     A user configuration record (206) is a record selected from user configuration

database (116). (Id. at col. 3:63-64). User configuration information includes user demographic

information, such as sex, age, location, stock quotes, favorite sports teams, news topics, etc. (Id.

at col. 2:13-14, col. 5:45-50, col. 6:37-39, 46-48, 52-56). The user configuration information in

the example may not change until the user changes his or her preferences. (Id. at col. 5:33-35).

       19.     The ‘854 patent provides an illustration of a user template (202) as might be

generated from global user template (204) and a user configuration record (206):




                                                 6
   Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 7 of 91 PageID #: 7




(Ex. A at Fig. 4). The user template is unique because it is built based on user demographic

information provided by the user, as opposed to generically chosen dynamic information or

based on information provided by the server. Exemplary demographic information is shown in

line 2 of Fig. 4 (“:M,85,95035,T,*”) indicating that the user is a male, age 85, located in zip code

95035, etc. (Id. at col. 5:42-45). The ‘854 patent includes a full listing of the non-limiting

exemplary user template of Fig. 4 in Appendix A. (Ex. A at col. 2:57-58; col. 5:22-23).




                                                 7
Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 8 of 91 PageID #: 8




                                   8
Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 9 of 91 PageID #: 9




                                   9
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 10 of 91 PageID #: 10




(Ex. B at Col. 7-11).

       20.     As shown in Fig. 2 of the ‘854 patent, the user template does not need to be

generated each time and instead can be generated and stored. (Ex. A at col. 4:49-51, col. 5:23-

32). One benefit of the claimed invention that speeds up the operation of the dynamic page

generation is that the page can be stored in multiple locations that are based on the frequency by

which the user requests the customized page based on the user template. (Id. at col. 5:37-38, col.

6:49-59). Some users might choose to access their user page infrequently, while others might

choose to access their front page hourly. (Id. at col. 6: 52-54). For infrequent users, the user

template is stored in a user configuration database, whereas for frequent users the user template

may also be stored in cache. (Id. at col. 5:37-38, col. 6:51-59). Caching reduces the time to

respond to a request for a page and is more effective where the typical user makes several

requests in a short time span and then doesn’t make any requests for a long period of time. (Id.

at col. 5:29-32).

       21.     When the user template stored in cache, it may be stored long enough to be reused

and may also be flushed from cache if the user page has been inactive for several days. (Id. at

col. 6:49-52, 59-60). Even if it is flushed from cache, the user template can be maintained in the

user configuration database, which can then be quickly accessed and stored in cache in the event

a user may start to access the user page quickly. (Id.).



                                                 10
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 11 of 91 PageID #: 11




       22.     The custom user page can also include an advertisement that is selected based on

the user demographic information. (Id. at col. 5:39-42). For example, using the demographic

information “:M,85,95035,T,*”, an advertisement can be selected that is targeted for a male user,

age 85, located in zip code 95035, etc. (Id. at col. 5:39-45).

       23.     Appendix B of the ‘854 patent is an HTML source code listing of an HTML page

created from an executed user template that is used to generate a user customized browser web

page. (Ex. B at col. 11 – col. 19).

       24.     As explained the ‘854 patent and prosecution history, there are unconventional

and non-generic features of the claimed invention which are technical improvements that make

the generation of dynamic web pages quicker, more efficient, and use less resources. By storing

the user customized template program in two locations in which the location is determined by

frequency, the system is more efficient and allows for a quicker response than the prior art. For

example, by storing the user customized template in user configuration database and in cache,

the dynamic generation of a user customized web page is more efficient and uses less resources

of the server, database, and network, and allows for a quicker generation of the dynamic web

page thereby allowing the server to scale in order to handle substantially more requests for user

customized dynamic web pages. (See Ex. A at col. 1:42-67, col. 4:49-col. 5:15, col. 5:23-32).

Furthermore, by caching the user template, the page can be generated entirely within a page

server, thus conserving network and database resources. (See id. at col. 4:10-11, col. 5:23-32).

By also storing the user customized template in a user configuration database, even if the cache

is cleared, the template already exists in the database which then prevents having to regenerate a

new user customized page from a global page template using a user configuration record thus

saving database and server resources and more quickly generating the requested web page from




                                                 11
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 12 of 91 PageID #: 12




the user customized template. (E.g., id. at col. 3:37-39, col. 4:1-11, 49-62). The storage of a

user customized template program in at least two locations and the location determined from the

frequency of the user request for the customized page was an unconventional and non-generic

method for storing such templates and was not disclosed in the prior art. (Ex. C (Oct. 28, 2010

Resp. to Office Action) at 9).

       25.       Furthermore, the invention provides for more personalized web pages because the

user provides user configuration information on which the user customized template is

generated. (Ex. C (Oct. 28, 2010 Resp. to Office Action) at 9; Ex. D (Apr. 18, 2011 Resp. to

Office Action) at 6). This was an unconventional way for generating a user customized template

unique to the user that was not found in the prior art. (Ex. D (Apr. 18, 2011 Resp. to Office

Action) at 6).

       26.       The patents related to the ‘854 patent and sharing the same specification were

cited during the prosecution history of over 700 patents, including patents and applications

owned by companies including Google, Inc., Microsoft Corporation, Amazon Technologies,

Inc., Facebook, Inc., Ebay, Inc., Salesforce.com, Inc., IBM Corporation, Oracle International

Corporation, Comcast Cable Communications, LLC, SAP AG, Citrix Systems, Inc., BEA

Systems, Inc., Sprint Communications Company L.P., Siemens AG, AT&T Intellectual Property

I, L.P., Hewlett-Packard Development Company, L.P., Fujitsu Limited, AOL LLC, General

Electric Company, Accenture LLP, Adobe Systems Inc., Sony Computer Entertainment Inc., and

Akamai           Technologies,      Inc.             (See      http://patft.uspto.gov/netacgi/nph-

Parser?Sect1=PTO2&Sect2=HITOFF&p=1&u=%2Fnetahtml%2FPTO%2Fsearch-

bool.html&r=0&f=S&l=50&TERM1=5983227&FIELD1=UREF&co1=AND&TERM2=&FIEL

D2=&d=PTXT).




                                                12
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 13 of 91 PageID #: 13




        27.   Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claims 1-3, 8-10, and 15 of the ‘854 patent in Delaware, and elsewhere in the

United States, by performing the claimed method, using the claimed computer-readable non-

transitory medium storing computer instructions, and/or making and/or using the claimed system

at Yellowpages.com (“Accused Instrumentality”).

        28.   The Accused Instrumentality performs the step of receiving a user request for a

customized page. For example, Yellowpages.com receives a user request for a user customized

page:




(E.g., https://accounts.yellowpages.com/login).




                                                  13
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 14 of 91 PageID #: 14




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

       29.    The Accused Instrumentality performs the step of receiving a template program

(e.g., software instructions and data used for rendering a particular user’s Yellowpages.com page



                                               14
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 15 of 91 PageID #: 15




such as a JavaScript page) that is unique to the user and based on user configuration information

(e.g., JavaScript pages will be specific to a user because the content can be modified by and/or

customized for a user). The user configuration information is supplied by the user (e.g., a user

defines the information the user’s template will display by inputting information such as the

user’s location; a user can customize the content of their templates and what will be rendered and

displayed using the templates by entering information such as the user’s location) and used to

build the template program that is unique to the user (e.g., user profile and user configuration

information is used to modify templates, create instructions, and designate appropriate data

retrieval for rendering the user’s specific page).




(https://i4.ypcdn.com/ypu/vendor/elastic-apm-rum.umd.min.js?5231034 (for a particular user)).




(E.g., https://i4.ypcdn.com/ypu/js/compiled/profile.js?5f5dfcd (for a particular user)).




(E.g., https://i3.ypcdn.com/ypu/js/compiled/srp_adsense.js?5231034 (for a particular user)).




                                                 15
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 16 of 91 PageID #: 16




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).

       30.     The user configuration information supplied by the user to build the template

program includes user demographic information (e.g., a user’s profile information and/or

configuration information such as the user’s location and other information). (E.g.,

https://corporate.thryv.com/privacy/).

       31.     The template program is received from one of at least two locations (e.g., the data

and templates comprising a user’s page may be retrieved from a main server/disk storage), the

location determined from the frequency of the user request for the customized Yellowpages.com

page (e.g., based on the frequency at which a user logs in or accesses their Yellowpages.com

page, the data comprising the users page may be stored at a main server). On information and

belief, the accused instrumentality uses the template program that is unique to the user which is



                                                16
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 17 of 91 PageID #: 17




generated using customization information unique to the user and a global template that is

generic to a plurality of users. On information and belief, template information that is part of the

template program is stored for less frequently accessed files in the main storage and for more

frequently accessed files in local storage on the user’s computer. On information and belief,

running the template program (page generation code, tiles, containers, and user data) creates the

customized webpage. When a user signs-up or performs a login, the code takes the user template

information and stores it in a site JavaScript object that is used in logic to display various

available events and other site logic-based conditions. The user information is stored in multiple

locations, which can include, (1) at runtime, in a Javascript object with the data structure called

ContextData; (2) within browser local storage; and (3) browser cookies. The JavaScript code

shown below from the front-facing publicly available code, demonstrates that the sign-in is

handled via JavaScript. The actual JS file is served from a CDN.

(E.g., id.)




(https://i4.ypcdn.com/ypu/vendor/elastic-apm-rum.umd.min.js?5231034 (for a particular user)).




(E.g., https://i4.ypcdn.com/ypu/js/compiled/profile.js?5f5dfcd (for a particular user)).




                                                17
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 18 of 91 PageID #: 18




(E.g., https://i3.ypcdn.com/ypu/js/compiled/srp_adsense.js?5231034 (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)). As shown below, a

user’s Yellowpages.com page will also be customized to show businesses near the location

linked to a user’s account. Below are screenshots of two pages for two different users’ that have

varying businesses displayed based upon the users’ respective locations.

First User:




                                                18
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 19 of 91 PageID #: 19




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed. Below are screenshots


                                               19
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 20 of 91 PageID #: 20




pertaining to the selection process.




(https://www.yellowpages.com/favorites (for a particular user)).




(https://www.yellowpages.com/union-city-nj/mip/developers-network-inc-462354619 (for a

particular user)).

First User:




                                               20
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 21 of 91 PageID #: 21




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




(https://www.yellowpages.com/favorites (for a particular user)). “Saved favorites” data is stored

locally in cookies. The JavaScript file which has a utility function is retrieved from the CDN and

handles storing and retrieval of the saved favorites, and user data stored and retrieved from local

Storage or Cookie locations.




                                                21
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 22 of 91 PageID #: 22




         32.   The Accused Instrumentality performs the step of receiving an advertisement

selected in accordance to the user demographic information (e.g., Yellowpages.com provides

advertisements to a user based on demographic information such as location, etc.).      (E.g.,

https://corporate.thryv.com/privacy/). For example, the Accused Instrumentality has targeted

advertising to users based on a user’s geography and interest. (Id.).

         33.   The Accused Instrumentality performs the step of executing the template program

(e.g., JavaScript templates) using the selected advertisement (e.g., an advertisement selected

based on a user’s demographic information) to generate the customized page (e.g., a user’s

Yellowpages.com page, with the advertisement integrated).

         34.   The Accused Instrumentality performs the step of providing the customized page

to the user (e.g., a user’s Yellowpages.com page with integrated advertisements).

First User:




(E.g.,



                                                 22
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 23 of 91 PageID #: 23




https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_te

rms=New+York+City%2C+NY (for a particular user)).

Second User:




(E.g.,

https://www.yellowpages.com/search?search_terms=Developer&geo_location_terms=Houston%

2C+TX (for a particular user)).

         35.     Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘854 patent, i.e., in an amount that by law

cannot be less than would constitute a reasonable royalty for the use of the patented technology,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

         36.     On information and belief, Defendant has had at least constructive notice of the

‘854 patent by operation of law, and there are no marking requirements that have not been

complied with.


                                                23
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 24 of 91 PageID #: 24




                             IV. COUNT II
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 5,983,227)

       37.      Plaintiff incorporates the above paragraphs herein by reference.

       38.      On November 9, 1999, United States Patent No. 5,983,227 (“the ‘227 Patent”)

was duly and legally issued by the United States Patent and Trademark Office. The ‘227 Patent

is titled “Dynamic Page Generator.” A true and correct copy of the ‘227 Patent is attached hereto

as Exhibit B and incorporated herein by reference.

       39.      Digi Portal is the assignee of all right, title and interest in the ‘227 patent,

including all rights to enforce and prosecute actions for infringement and to collect damages for

all relevant times against infringers of the ‘227 Patent. Accordingly, Digi Portal possesses the

exclusive right and standing to prosecute the present action for infringement of the ‘227 Patent

by Defendant.

       40.      The application leading to the ‘227 patent was filed June 12, 1997. (Ex. B at

cover). The ‘227 patent was first assigned to Yahoo! Inc. (Id.).

       41.      The invention in the ‘227 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:14-18).

       42.      The ‘227 Patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

Furthermore, as show in the prosecution history of the ‘227 Patent, it was unconventional to

download real-time information into a server and use a template for the static data as opposed to

linking directly to real-time information. (Ex. E at 5, Ex. F at 2).

       43.      Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 2 of the ‘227 patent in Delaware, and elsewhere in the United States, by



                                                 24
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 25 of 91 PageID #: 25




performing actions comprising using or performing the claimed method of providing real-time

responses to user requests for customized pages, including without limitation through the method

implemented of providing a user’s Yellowpages.com page (“Accused Instrumentality”). (E.g.,

https://www.yellowpages.com; https://accounts.yellowpages.com/login).

       44.     The Accused Instrumentality performs the step of obtaining user preferences (e.g.,

businesses near their location, etc.), wherein a user's user preferences indicate items of interest to

that user.   For example, users can customize their location on their Yellowpages.com page to

locate businesses near their location:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).




                                                 25
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 26 of 91 PageID #: 26




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

       45.     On information and belief, the Accused Instrumentality performs obtaining real-

time information (e.g., current businesses) from information sources (e.g., Yellowpages.com’s

servers/databases which store real-time event information) and storing the real-time information

in a storage device (e.g., the events will be pulled from a storage server and sent to

Yellowpages.com’s web/API server so that the information can be used as input in a template

program to generate a customized page that is provided to a user).

First User:




                                               26
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 27 of 91 PageID #: 27




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)).




                                          27
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 28 of 91 PageID #: 28




(https://i4.ypcdn.com/ypu/vendor/elastic-apm-rum.umd.min.js?5231034 (for a particular user)).




(E.g., https://i4.ypcdn.com/ypu/js/compiled/profile.js?5f5dfcd (for a particular user)).




(E.g., https://i3.ypcdn.com/ypu/js/compiled/srp_adsense.js?5231034 (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




                                                28
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 29 of 91 PageID #: 29




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).

       46.     On information and belief, the Accused Instrumentality performs the combining

the user preferences for the user (e.g., user location, saved favorites) and a template (e.g., generic

template) to form a template program specific to the user. On information and belief, the

accused instrumentality forms a template program (e.g., software instructions and data used for

rendering a particular user’s Yellowpages.com page such as a JavaScript page) that is unique to

the user (e.g., JavaScript pages will be specific to a user because the content can be modified by

and/or customized for a user) and based on user preferences (e.g., a user can customize the

content of their templates and what will be rendered and displayed using said templates by

entering information such as their location). The accused instrumentality uses customization

information unique to the user and a global template that is generic to a plurality of users to form

a customized template program unique to a user.            Running the template program (page

generation code, tiles, containers, and user data) creates the customized webpage. When a user

signs-up or performs a login, the code takes the user template information and stores in a site

Javascript object that is used in logic to display various businesses, other site logic-based

conditions. The user information is stored in multiple locations: (1) At runtime, in a Javascript

object with the data structure called ContextData; (2) Within Browser local storage; and (3)

Browser Cookies.




                                                 29
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 30 of 91 PageID #: 30




(https://i4.ypcdn.com/ypu/vendor/elastic-apm-rum.umd.min.js?5231034 (for a particular user)).




(E.g., https://i4.ypcdn.com/ypu/js/compiled/profile.js?5f5dfcd (for a particular user)).




(E.g., https://i3.ypcdn.com/ypu/js/compiled/srp_adsense.js?5231034 (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




                                                30
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 31 of 91 PageID #: 31




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).

As shown below, a user’s Yellowpages.com page will be customized to show currently available

businesses near the location linked to a user’s account. Below are screenshots of two pages for

two different users’ that have varying businesses displayed based upon the users’ respective

locations.

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                                31
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 32 of 91 PageID #: 32




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed. Below are screenshots

pertaining to the selection process.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).



                                               32
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 33 of 91 PageID #: 33




Second User:




(https://www.yellowpages.com/favorites (for a particular user)).

       47.     On information and belief, the Accused Instrumentality performs the step of from

a user and at the server, a user request for a customized page (e.g., when a user logs in to

Yellowpages.com, businesses will be limited to those tied to user’s location, and advertisements

will be targeted towards a user’s interest) customized according to the user preferences. In at

least testing and usage, the accused instrumentality practices a method for receiving a user

request (e.g., a user login request) for a customized page (e.g., a user’s customized home and

search pages on the Yellowpages.com website).




                                               33
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 34 of 91 PageID #: 34




(https://accounts.yellowpages.com/login (for a particular user)). As shown below, users can

customize their location on their Yellowpages.com page to find businesses near their location.




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

       48.     The Accused Instrumentality performs the step of executing the template program

specific to the user (e.g., page generation code, tiles, containers, and user data) using the real-



                                                34
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 35 of 91 PageID #: 35




time information stored in the storage device (e.g., currently available businesses and

advertisements, stored in a storage database/server) as input to the template program to generate

the customized page (e.g. the currently available businesses, and advertisements will be inputted

into a template program so that the appropriate web page will be generated and displayed to the

user).   As shown below, a user’s Yellowpages.com page will be customized to show the

businesses near the location linked to a user’s account. Below are screenshots of two pages for

two different users’ that have varying businesses displayed based upon the users’ respective

locations (i.e., real-time information selected for the user's customized web page based on the

customization information unique to the user).

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                                 35
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 36 of 91 PageID #: 36




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). The code for each user’s respective pages demonstrates that

the template program is varied so that each user can receive appropriately customized pages

(e.g., the code for each respective page is updated/adapted to pull from different resources so that

the appropriate information/data can be referenced/displayed for each user). A user can also

customize their Yellowpages.com page by saving favorite businesses, so that saved favorites can

be displayed. Below are screenshots pertaining to the selection process.




                                                36
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 37 of 91 PageID #: 37




(https://www.yellowpages.com/favorites (for a particular user)).




(https://www.yellowpages.com/union-city-nj/mip/developers-network-inc-462354619 (for a

particular user)). Shown below are screenshots of webpages customized according to the saved

favorite businesses of two respective users.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).


                                               37
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 38 of 91 PageID #: 38




Second User:




(https://www.yellowpages.com/favorites (for a particular user)).

       49.     The Accused Instrumentality performs the step of providing the customized page

to the user (e.g., a user’s Yellowpages.com page, search results, etc.,               with integrated

advertisements) wherein the steps of executing and providing are performed in real-time

response to receipt of the user request (e.g., user login request, search initiation, etc.) in the step

of receiving and wherein the customized page includes at least one item of real-time information

(e.g., currently businesses or current advertisements) selected from the storage device (e.g.

pulled from storage servers/databases and sent to an API/webserver for processing/display). As

shown below, a user’s Yellowpages.com page will be customized to show the businesses near

the location linked to a user’s account. Below are screenshots of two pages for two different

users’ that have varying businesses displayed based upon the users’ respective locations (i.e.,

real-time information selected for the user's customized web page based on the customization

information unique to the user).

First User:



                                                  38
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 39 of 91 PageID #: 39




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)).




                                          39
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 40 of 91 PageID #: 40




       50.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘227 patent, i.e., in an amount that by law

cannot be less than would constitute a reasonable royalty for the use of the patented technology,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       51.       On information and belief, Defendant has had at least constructive notice of the

‘227 patent by operation of law, and there are no marking requirements that have not been

complied with.

                             V. COUNT III
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,171,414)

       52.       Plaintiff incorporates the above paragraphs herein by reference.

       53.       On January 30, 2007, United States Patent No. 7,171,414 (“the ‘414 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘414 Patent is

titled “Dynamic Page Generator.” A true and correct copy of the ‘414 Patent is attached hereto as

Exhibit G and incorporated herein by reference.

       54.       Digi Portal is the assignee of all right, title and interest in the ‘414 patent,

including all rights to enforce and prosecute actions for infringement and to collect damages for

all relevant times against infringers of the ‘414 Patent. Accordingly, Digi Portal possesses the

exclusive right and standing to prosecute the present action for infringement of the ‘414 Patent

by Defendant.

       55.       The application leading to the ‘414 patent was filed September 10, 1999, which

was a continuation of application no. 08/873,975, which issued as the ’227 patent. (Ex. G at

cover). The ‘414 patent was first assigned to Yahoo! Inc. (Id.).




                                                 40
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 41 of 91 PageID #: 41




       56.     The invention in the ‘414 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:29-33).

       57.     The ‘414 Patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

Furthermore, the prosecution history of the ‘414 patent highlights advantages and

unconventional features of the claimed invention including the “storing real-time information in

a shared local storage device.” An example of this limitation is when live data used to fill

templates is stored local to the page server which is handling user requests for custom web

pages. (Ex. I at 8; Ex. G at col. 2:11-15). Every piece of information that a person can request

on a page is storable in a shared memory closely coupled to a page generator. (Ex. I at 9; Ex. G

at col. 4:43-58). Unlike the prior art CGI process that required time consuming calls to other

servers, storing real-time information in a shared local storage device, allows for any custom

page to be built within the page server thereby eliminating the need to make requests from other

servers for portions of the live data. (Ex. I at 9; Ex. G at col. 2:25-31).

       58.     Furthermore, as show in the prosecution history of the ‘414 Patent, it was

unconventional to receive the template program from one of at least two location, the frequency

of the user request for the customized page determines the retrieval location of the template

program. (Ex. H at 9-10). In the prior art, the published web site was stored on a server and

provided from one server location regardless of the frequency of the user requests for the web

site. (Id.). The examiner agreed that the claim was allowable because the prior art did not

disclose that in a page server coupled to a network a method of providing a customized page to a

user, the customized page is customized according to the user’s preferences, and the template is




                                                  41
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 42 of 91 PageID #: 42




received from one of at least two locations, the location determined from frequency of the user

request for the customized page. (Ex. J at 3).

        59.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claims 1 and 3 of the ‘414 patent in Delaware, and elsewhere in the United

States, by performing actions comprising using or performing the claimed method using the

Yellowpages.com website (“Accused Instrumentality”). The Accused Instrumentality uses a

page server (e.g., the Yellowpages.com server), to provide a customized page (e.g., user-specific

web page, search results, etc.) to a user, wherein the customized page is customized according to

the user's preferences (e.g., user location, interests, etc.).

        60.     On information and belief, the Accused Instrumentality performs the step of real-

time information (e.g., current businesses and advertisements) from information sources (e.g.

storage servers/databases that store current businesses and advertisements) and stores them in a

shared local storage device (e.g., the data will be pulled from storage servers/databases and

stored, at least temporarily, at a local web/API server, for processing and subsequent display to a

user). As shown below, users can customize their location on their Yellowpages.com page to

find businesses near their location.




                                                    42
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 43 of 91 PageID #: 43




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for particular user)). As shown below, a user’s

Yellowpages.com page is customized by the location information provided by the user.




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for particular user)). As shown below, a user’s

Yellowpages.com page will also be customized to show businesses near the location linked to a



                                              43
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 44 of 91 PageID #: 44




user’s account. Below are screenshots of two pages for two different users’ that have varying

businesses displayed based upon the users’ respective locations.

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                               44
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 45 of 91 PageID #: 45




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed. Below are screenshots

pertaining to the selection process.




(https://www.yellowpages.com/favorites (for a particular user)).




(https://www.yellowpages.com/union-city-nj/mip/developers-network-inc-462354619 (for a

particular user)). Shown below are screenshots of webpages customized according to the saved


                                               45
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 46 of 91 PageID #: 46




favorites of two respective users.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




(https://www.yellowpages.com/favorites (for a particular user)).

       61.     On information and belief, the Accused Instrumentality performs the step of

storing a user-specific template program (e.g., generic template customized based on user-


                                               46
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 47 of 91 PageID #: 47




specific interests & with real-time information) for the user in a data structure associated with a

user identifier unique to the user (e.g., the user-specific template is stored corresponding to every

user based on the user’s unique preferences and information associated with the user’s sign-in

information (e.g., e-mail address). The accused instrumentality uses the template program that is

unique to the user which is generated using customization information unique to the user and a

global template that is generic to a plurality of users. As shown below, after a user logs in,

Yellowpages.com can display a user’s saved favorites. As such, a user-specific template program

utilized to create the displayed websites that show a user’s saved favorites must be stored in a

database wherein said template program is tied to a user’s log in information/account.




(https://www.yellowpages.com/favorites (for a particular user)). A user can also customize their

Yellowpages.com page by saving favorite businesses, so that saved favorites can be displayed.

In order to display the saved favorites to a user following their login, Yellowpages.com must

store the template programs utilized to render said pages in a database, and tie said template

programs to a user’s account. Below are screenshots pertaining to the selection process.




                                                 47
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 48 of 91 PageID #: 48




(https://www.yellowpages.com/favorites (for a particular user)).




(https://www.yellowpages.com/union-city-nj/mip/developers-network-inc-462354619           (for   a

particular user)).

        62.     Upon information and belief, the Accused Instrumentality performs the step of

receiving, from the user and at the page server (e.g., Yellowpages.com server), a user request

(e.g., user login, search initiation, etc.) for a customized page (e.g. search results limited to a

user’s location, nearby businesses tied to a user’s location, pages with advertisements targeted to


                                                48
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 49 of 91 PageID #: 49




a user’s interest, etc.) and determining a user identifier associated with the request (e.g, in order

to limited search results to a location tied to an account, or nearby businesses related to a user’s

location, Yellowpages.com must determine a user identifier that links the request to the user’s

account and preferences).




(E.g., https://accounts.yellowpages.com/login (for a particular user)). As shown below, users can

customize their location on their Yellowpages.com page to find businesses near their location.




                                                 49
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 50 of 91 PageID #: 50




(E.g.,

https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_te

rms=New+York+City%2C+NY (for a particular user)). As shown below, a user’s

Yellowpages.com page will also be customized to show businesses near the location linked to a

user’s account. Below are screenshots of two pages for two different users’ that have varying

businesses displayed based upon the users’ respective locations.

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                               50
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 51 of 91 PageID #: 51




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed. Below are screenshots

pertaining to the selection process.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).



                                               51
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 52 of 91 PageID #: 52




Second User:




(https://www.yellowpages.com/favorites (for a particular user)).

       63.     On information and belief, the Accused Instrumentality performs the step of

receiving a template program specific to the user using the determined user identifier (e.g., user

id & password) associated with the user request (e.g., user login request). In order to display a

webpage that shows search results limited to a user’s location, Favorites, etc., Yellowpages.com

must receive a template program (e.g. code, instructions, etc., used to create a webpage for

display) tied to a user’s account/preferences.       As shown below, after a user logs in,

Yellowpages.com can display a user’s saved/recent search and listings. As such, a user-specific

template program utilized to create the displayed websites that show a user’s saved/recent search

and listings must be stored in a database wherein said template program is tied to a user’s log in

information/account.




                                               52
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 53 of 91 PageID #: 53




       (E.g., https://www.yellowpages.com/favorites (for a particular user)).




       (E.g., https://www.yellowpages.com/union-city-nj/mip/developers-network-inc-

       462354619 (for a particular user)).

       64.    On information and belief, the Accused Instrumentality performs the step that the

template program is received from one of at least two locations, the location determined from

frequency of the user request for the customized page. Template information that is part of the

template program is stored for less frequently accessed files in the main storage and for more


                                               53
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 54 of 91 PageID #: 54




frequently accessed files in local storage on the user’s computer. Running the template program

(page generation code, tiles, containers, and user data) creates the customized webpage.

       65.     In at least testing and usage, the accused instrumentality practices receiving a

template program (e.g., software instructions and data used for rendering a particular user’s

Yellowpages.com page such as a JavaScript page) that is unique to the user (e.g., JavaScript

pages will be specific to a user because the content can be modified by and/or customized for a

user) and based on user configuration information (e.g., a user can customize the content of their

templates and what will be rendered and displayed using said templates by entering information

such as their location) the user configuration information being supplied by the user (e.g., a user

defines the information their template will display by inputting information such as their

location) and used to build the template program that is unique to the user (e.g., user profile and

user configuration information is used to modify templates, create instructions, and designate

appropriate data retrieval for rendering the user’s specific page), the user configuration

information including user demographic information (e.g., a user’s profile information and/or

configuration information may contain their location and age, amongst other information), and

wherein the template program is received from one of at least two locations (e.g., the data and

templates comprising a user’s page may be retrieved from a main server/disk storage), the

location determined from the frequency of the user request for the customized page (e.g., based

on the frequency at which a user logs in or accesses their Yellowpages.com page, the data

comprising the users page may be stored at a main server). The accused instrumentality uses the

template program that is unique to the user which is generated using customization information

unique to the user and a global template that is generic to a plurality of users. Template

information that is part of the template program is stored for less frequently accessed files in the




                                                54
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 55 of 91 PageID #: 55




main storage and for more frequently accessed files in local storage on the user’s computer.

Running the template program (page generation code, tiles, containers, and user data) creates the

customized webpage. When a user signs-up or performs a login, the code takes the user template

information and stores in a site JavaScript object that is used in logic to display various

businesses, other site logic-based conditions.       The user information is stored in multiple

locations: (1) At runtime, in a JavaScript object with the data structure called Context Data; (2)

Within Browser local storage; and (3) Browser Cookies.




(https://i4.ypcdn.com/ypu/vendor/elastic-apm-rum.umd.min.js?5231034 (for a particular user)).




(E.g., https://i4.ypcdn.com/ypu/js/compiled/profile.js?5f5dfcd (for a particular user)).




(E.g., https://i3.ypcdn.com/ypu/js/compiled/srp_adsense.js?5231034 (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




                                                55
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 56 of 91 PageID #: 56




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).

       66.     On information and belief, the Accused Instrumentality performs the step of

executing the template program (e.g. code, instructions, etc.) specific to the user (e.g., used to

create a user-specific web page) using the real-time information (e.g., current businesses,

targeted advertisements, etc.) stored in the shared local storage device (e.g. current businesses

and advertisements are pulled from storage servers/databases and sent to a web/API server used

to process said data for display; said web/API server is local to Yellowpages.com and is shared

amongst all users accessing the Yellowpages.com website) to generate the customized page (e.g.

a user webpage displaying current businesses, etc., customized for a user based on their

preferences). As shown below, a user’s Yellowpages.com page will be customized to show

businesses near the location linked to a user’s account. Below are screenshots of two pages for

two different users’ that have varying current businesses displayed based upon the users’

respective locations (i.e., real-time information selected for the user's customized web page

based on the customization information unique to the user such as businesses). The code for each

user’s respective pages demonstrates that the template program is varied so that each user can



                                                56
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 57 of 91 PageID #: 57




receive appropriately customized pages (e.g., the code for each respective page is

updated/adapted to pull from different resources so that the appropriate information/data can be

referenced/displayed for each user). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed. Below are screenshots for

two different users.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




                                               57
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 58 of 91 PageID #: 58




(https://www.yellowpages.com/favorites (for a particular user)).

       67.     On information and belief, the Accused Instrumentality performs the step that the

template program indicates items of interest to the user; and providing the user with the

customized page (e.g., the code/scripts/etc. will create a webpage that displays event information

related to a user’s search query).     Users have businesses displayed based upon the users’

respective locations (i.e., real-time information selected for the user's customized web page

based on the customization information unique to the user such as current businesses). The code

for each user’s respective pages demonstrates that the template program is varied so that each

user can receive appropriately customized pages (e.g., the code for each respective page is

updated/adapted to pull from different resources so that the appropriate information/data can be

referenced/displayed for each user).

First User:




                                               58
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 59 of 91 PageID #: 59




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)).




                                          59
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 60 of 91 PageID #: 60




       68.     On information and belief, the Accused Instrumentality performs the step of

receiving user preferences (e.g., user location/ saved favorites, etc.) for the user, wherein the user

preferences indicate the items of interest to the user (e.g. current businesses near a user,

advertisement corresponding to user location, etc.) and combining the user preferences with a

generic template to form the template program specific to the user.

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                                 60
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 61 of 91 PageID #: 61




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)).

       69.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘414 patent, i.e., in an amount that by law

cannot be less than would constitute a reasonable royalty for the use of the patented technology,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       70.       On information and belief, Defendant has had at least constructive notice of the

‘414 patent by operation of law, and there are no marking requirements that have not been

complied with.

                            VI. COUNT IV
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 7,565,359)

       71.       Plaintiff incorporates the above paragraphs herein by reference.

       72.       On July 21, 2009, United States Patent No. 7,565,359 (“the ‘359 Patent”) was

duly and legally issued by the United Stas Patent and Trademark Office. The ‘359 Patent is




                                                 61
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 62 of 91 PageID #: 62




titled “Dynamic Page Generator.” A true and correct copy of the ‘359 Patent is attached hereto

as Exhibit K and incorporated herein by reference.

       73.      Digi Portal is the assignee of all right, title and interest in the ‘359 patent,

including all rights to enforce and prosecute actions for infringement and to collect damages for

all relevant times against infringers of the ‘359 Patent. Accordingly, Digi Portal possesses the

exclusive right and standing to prosecute the present action for infringement of the ‘359 Patent

by Defendant.

       74.      The application leading to the ‘359 patent was filed January 22, 2007, as a

continuation of application no. 09/393,718, which issued as the ‘414 patent, which was a

continuation of application no. 08/873,975, which issued as the ’227 patent. (Ex. K at cover).

The ‘359 patent was first assigned to Yahoo! Inc. (Id.).

       75.      The invention in the ‘359 Patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:22-27).

       76.      The ‘359 Patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

Furthermore, the prosecution history of the ‘359 patent highlights advantages and the

unconventional features of the claimed invention. When allowing the claims of the ‘359 patent,

the examiner focused on the last two limitations of the claim stating that executing the template

program specific to the user using the real-time information stored in the shared local storage

device to generate a customized page; and receiving user preferences for the user, and combining

the user preferences with a generic template to form the template specific to the user, wherein the




                                                62
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 63 of 91 PageID #: 63




user preferences indicate the items of interest to the user in conjunction with the other limitations

was not found in the prior art. (Ex. L at 8).

       77.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 10 of the ‘359 patent in Delaware, and elsewhere in the United States,

by performing actions comprising making and/or using the claimed computer-readable medium

comprising instructions for generating customized pages that are customized according to user

preferences that performs the method steps required by the claim, including without limitation

through the method implemented of providing a user’s Yellowpages.com page (“Accused

Instrumentality”).    The Accused Instrumentality utilizes a computer-readable medium

comprising instructions (e.g., code that is executed to create webpages) for generating

customized pages (e.g., user-specific web pages), wherein the customized pages are customized

according to user preferences (e.g., web pages will be customized to show events near a user’s

location).

       78.     On information and belief, the Accused Instrumentality performs the step of

storing the real-time information in a shared local storage device (e.g., currently available

businesses and advertisements will be pulled from a storage server/database and sent to a

Yellowpages.com local web/API server for processing and display). The accused instrumentality

also practices storing a user-specific template program (e.g., instructions and data used to

generate a custom user webpage) for a plurality of users, wherein each template program

indicates items of interest to a user (e.g., each user’s template program will include instructions,

code, etc. that dictates the information that should be displayed for a user based on their interest),

and is associated with a user identifier (e.g., in order for a user to see information specific to

them and their account, such as saved searches or past searches, the template program for their




                                                 63
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 64 of 91 PageID #: 64




webpage must be tied to their login credentials), wherein the user identifier is associated with a

user request (e.g., user login and subsequent search request, navigation, etc.) for a customized

page. As shown below, after a user logs in, Yellowpages.com can display a user’s saved favorite

businesses and listings. As such, a user-specific template program utilized to create the displayed

websites that show a user’s saved/recent search and listings must be tied to a user’s log in

information/account.




(E.g., https://www.yellowpages.com/favorites (for a particular user)).




                                                64
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 65 of 91 PageID #: 65




(E.g., https://www.yellowpages.com/union-city-nj/mip/developers-network-inc-462354619 (for a

particular user)). Shown below are screenshots of webpages customized according to the saved

favorites of two respective users.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




(https://www.yellowpages.com/favorites (for a particular user)). As shown below, users can


                                               65
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 66 of 91 PageID #: 66




customize their location on their Yellowpages.com page to find businesses near their location.

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston


                                               66
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 67 of 91 PageID #: 67




%2C+TX (for a particular user)).

       79.     On information and belief, the Accused Instrumentality performs the step of

receiving a template program (e.g., code, instructions, etc. that are executed to create a user

page) specific to the user using the user identifier (e.g., as explained above, in order to display

pages customized for a user subsequent to their login, the template program utilized to create

said customized page must be tied to the user’s account credentials), wherein the template

program is received from one of at least two locations (e.g., main storage at a Yellowpages.com

server or local device storage), the location based upon a frequency of user requests for the

customized page. On information and belief, template information that is part of the template

program is stored for less frequently accessed files in a main storage server wherein frequently

accessed files will be stored in local storage on the user’s computer. Running the template

program (page generation code, tiles, containers, and user data) creates the customized webpage.

When a user signs-up or performs a login, the code takes the user template information and

stores in a site JavaScript object that is used in logic to display various businesses, other site

logic-based conditions. The user information is stored in multiple locations: (1) At runtime, in a

JavaScript object with the data structure called Context Data; (2) Within Browser local storage;

and (3) Browser Cookies.




(https://i4.ypcdn.com/ypu/vendor/elastic-apm-rum.umd.min.js?5231034 (for a particular user)).




                                                67
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 68 of 91 PageID #: 68




(E.g., https://i4.ypcdn.com/ypu/js/compiled/profile.js?5f5dfcd (for a particular user)).




(E.g., https://i3.ypcdn.com/ypu/js/compiled/srp_adsense.js?5231034 (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).

       80.     On information and belief, the Accused Instrumentality performs that step of

executing the template program specific to the user (e.g., generating user-specific web page by




                                                68
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 69 of 91 PageID #: 69




executing a template program which is composed of code, instructions, and data) using the real-

time information stored in the shared local storage device (e.g., currently available businesses,

businesses, and advertisements pulled from external storage servers/databases and sent to a local

Yellowpages.com web/API server for processing and display) to generate the customized page.

As shown below, a user’s Yellowpages.com page will be customized to show businesses near the

location linked to a user’s account. Below are screenshots of two pages for two different users’

that have varying businesses displayed based upon the users’ respective locations (i.e., real-time

information selected for the user's customized web page based on the customization information

unique to the user such as businesses).

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                               69
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 70 of 91 PageID #: 70




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:



                                                70
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 71 of 91 PageID #: 71




(https://www.yellowpages.com/favorites (for a particular user)).

       81.     On information and belief, the Accused Instrumentality performs the step of

receiving user preferences for the user (e.g., user location, saving favorite businesses, etc.), and

for combining the user preferences with a generic template to form the template program specific

to the user (e.g., user-specific web page), wherein the user preferences indicate the item of

interest to the user. The accused instrumentality uses a template program that is unique to the

user to generate a customized webpage by combining customization information unique to the

user and a global template that is generic to a plurality of users. The overall layout of a user’s

page will be shared amongst all users; however, the content of that page will differ for each user,

this being dictated by a unique template program that is made by taking a general template that

only defines layout and adding the data to be displayed within said layout. As shown below, a

user’s Yellowpages.com page will be customized to show businesses near the location linked to

a user’s account. Below are screenshots of two pages for two different users’ that have varying

businesses displayed based upon the users’ respective locations (i.e., real-time information




                                                71
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 72 of 91 PageID #: 72




selected for the user's customized web page based on the customization information unique to

the user such as businesses).

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                            72
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 73 of 91 PageID #: 73




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)).    The user’s respective pages demonstrates that the template

program is varied so that each user can receive appropriately customized pages (e.g., the code for

each respective page is updated/adapted to pull from different resources so that the appropriate

information/data can be referenced/displayed for each user). A user can also customize their

Yellowpages.com page by saving favorite businesses, so that saved favorites can be displayed.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




                                                73
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 74 of 91 PageID #: 74




(https://www.yellowpages.com/favorites (for a particular user)).

       82.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘359 patent, i.e., in an amount that by law

cannot be less than would constitute a reasonable royalty for the use of the patented technology,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       83.       On information and belief, Defendant has had at least constructive notice of the

‘359 patent by operation of law, and there are no marking requirements that have not been

complied with.

                            VII. COUNT V
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 9,626,342)

       84.       Plaintiff incorporates the above paragraphs herein by reference.

       85.       On April 18, 2017, United States Patent No. 9,626,342 (“the ‘342 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘342 Patent is

titled “Dynamic Page Generator.” The ‘342 patent is not subject to a terminal disclaimer and its




                                                 74
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 75 of 91 PageID #: 75




term is extended under 35 U.S.C. 154(b) by 891 days. (Ex. M). A true and correct copy of the

‘342 Patent is attached hereto as Exhibit M and incorporated herein by reference.

       86.      Digi Portal is the assignee of all right, title and interest in the ‘342 patent,

including all rights to enforce and prosecute actions for infringement and to collect damages for

all relevant times against infringers of the ‘342 patent. Accordingly, Digi Portal possesses the

exclusive right and standing to prosecute the present action for infringement of the ‘342 patent

by Defendant.

       87.      The application leading to the ‘342 patent was filed December 21, 2012, as a

continuation of application no. 11/842,095, which was a continuation of application no.

11/656,636, which is a continuation of 09/393,718, which was a continuation of application no.

08/873,975, which issued as the ’227 patent. (Ex. M at cover).

       88.      The invention in the ‘342 patent relates to the field of customized information

presentation on the web; more specifically, providing customized pages that are quickly served

and scalable to handle many users simultaneously. (Id. at col. 1:33-37).

       89.      The ‘342 patent shares the identical specification as the ‘854 patent and therefore

Digi Portal incorporates the background and discussion of the invention in Paragraphs 13-25.

       90.      Direct Infringement. Upon information and belief, Defendant has been directly

infringing at least claim 1 of the ‘342 patent in Delaware, and elsewhere in the United States, by

performing actions comprising performing the claimed method steps, including without

limitation through the method implemented of providing a user’s Yellowpages.com page

(“Accused Instrumentality”). The Accused Instrumentality practices the method of responding

to a user request (e.g., a user login request, search initiation, etc.) for a customized page (e.g., a




                                                 75
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 76 of 91 PageID #: 76




user’s customized home and search pages on the Yellowpages.com website). (E.g.,

https://accounts.yellowpages.com/login).

       91.     On information and belief, the Accused Instrumentality performs the step of

generating, via at least one server computer (e.g., Yellowpages.com server), a template program

unique to the user (e.g. a template program will be unique to a user because it is composed of

instruction, code, and data that is processed/executed to create a webpage customized to a user),

the template program that is unique to the user being used to form the user's customized web

page, the template program that is unique to the user being generated using customization

information unique to the user (e.g., user location, user favorite businesses, user preferences

etc.) and a global template that is generic to a plurality of users. The accused instrumentality

uses a template program that is unique to the user to generate a customized webpage by

combining customization information unique to the user and a global template that is generic to a

plurality of users. The overall layout of a user’s page will be shared amongst all users; however,

the content of that page will differ for each user, this being dictated by a unique template

program that is made by taking a general template that only defines layout and adding the data

selected based on customization information unique to the user to be displayed within said

layout. As shown below, a user’s Yellowpages.com page will be customized to show currently

available businesses near the location linked to a user’s account. Below are screenshots of two

pages for two different users that have varying current businesses displayed based upon the

users’ respective locations (i.e., real-time information selected for the user's customized web

page based on the customization information unique to the user such as businesses near a

particular location). The user’s respective pages demonstrates that the template program is

varied so that each user can receive appropriately customized pages (e.g., the code for each




                                               76
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 77 of 91 PageID #: 77




respective page is updated/adapted to pull from different resources so that the appropriate

information/data can be referenced/displayed for each user).

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                               77
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 78 of 91 PageID #: 78




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




(https://www.yellowpages.com/favorites (for a particular user)).


                                                78
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 79 of 91 PageID #: 79




       92.     On information and belief, the Accused Instrumentality performs the step of

executing, via the at least one server computer (e.g., Yellowpages.com server), the user's

template program (e.g. instructions, code and data used to create a user webpage) to generate the

user's customized web page, the user's customized web page including real-time information

(e.g., current businesses, advertisements, etc.) selected for the user's customized web page based

on the customization information unique to the user (e.g., user location and interest/habits). As

shown below, a user’s Yellowpages.com page will be customized to show businesses near the

location linked to a user’s account. Below are screenshots of two pages for two different users’

that have varying businesses displayed based upon the users’ respective locations (i.e., real-time

information selected for the user's customized web page based on the customization information

unique to the user such as businesses).

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).



                                               79
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 80 of 91 PageID #: 80




Second User:




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)).

       93.     On information and belief, the Accused Instrumentality performs the step of in

response to receiving a subsequent request for the user's customized web page (e.g., user login);

receiving, via the at least one server computer (Yellowpages.com server), the template program

that is unique to the user from one of at least two locations (e.g., main storage at a

Yellowpages.com server or local storage on the user’s device), the location determined from the

frequency of the request for the user's customized web page.        On information and belief,

template information that is part of the template program is stored for less frequently accessed

files in a main storage wherein frequently accessed files will be stored in storage on the user’s

computer. Running the template program (page generation code, tiles, containers, and user data)

creates the customized webpage. When a user signs-up or performs a login, the code takes the

user template information and stores in a site JavaScript object that is used in logic to display

various businesses, other site logic-based conditions. The user information is stored in multiple


                                               80
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 81 of 91 PageID #: 81




locations: (1) At runtime, in a JavaScript object with the data structure called Context Data; (2)

Within Browser local storage; and (3) Browser Cookies.




(https://i4.ypcdn.com/ypu/vendor/elastic-apm-rum.umd.min.js?5231034 (for a particular user)).




(E.g., https://i4.ypcdn.com/ypu/js/compiled/profile.js?5f5dfcd (for a particular user)).




(E.g., https://i3.ypcdn.com/ypu/js/compiled/srp_adsense.js?5231034 (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).




                                                81
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 82 of 91 PageID #: 82




(E.g., https://cdn.optimizely.com/js/361070522.js (for a particular user)).

       94.     On information and belief, the Accused Instrumentality performs the step of

executing, via the at least one server computer (e.g., Yellowpages.com server), the received

template program that is unique to the user (e.g. instructions, code, and data that is executed to

create a customized user webpage) to generate the user's customized web page, the user's

customized web page including real-time information (e.g., current businesses, advertisements)

selected for the user's customized web page in response to the subsequent request (e.g., user

login, search initiation, etc.) and based on the customization information unique to the user (e.g.,

user location, interest/habits, etc.). As shown below, users can customize their location on their

Yellowpages.com page to find businesses near their location.

First User:




                                                82
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 83 of 91 PageID #: 83




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)).

First User:


                                          83
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 84 of 91 PageID #: 84




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




(https://www.yellowpages.com/favorites (for a particular user)).

       95.     On information and belief, the Accused Instrumentality performs the step of

serving, via the at least one server computer (e.g., Yellowpages.com server), the user's

customized web page (e.g. webpage customized for a user with local current businesses, and




                                               84
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 85 of 91 PageID #: 85




customized advertisements). Below are screenshots of two different customized user pages with

local current businesses and customized advertisements.

First User:




(https://www.yellowpages.com/search?search_terms=Developers+Network+Inc&geo_location_t

erms=New+York+City%2C+NY (for a particular user)).

Second User:




                                              85
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 86 of 91 PageID #: 86




(https://www.yellowpages.com/search?search_terms=Developer+&geo_location_terms=Houston

%2C+TX (for a particular user)). A user can also customize their Yellowpages.com page by

saving favorite businesses, so that saved favorites can be displayed.

First User:




(https://www.yellowpages.com/favorites (for a particular user)).

Second User:




(https://www.yellowpages.com/favorites (for a particular user)).


                                                86
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 87 of 91 PageID #: 87




       96.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘342 patent, i.e., in an amount that by law

cannot be less than would constitute a reasonable royalty for the use of the patented technology,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       97.       On information and belief, Defendant has had at least constructive notice of the

‘342 patent by operation of law, and there are no marking requirements that have not been

complied with.

                                      VIII. COUNT VI
                                 INDIRECT INFRINGEMENT

       98.       Upon information and belief, Defendant has been and now is indirectly infringing

by way of inducing infringement and contributing to the infringement of at least the asserted

claims of the ‘854 patent in the State of Delaware, in this District, and elsewhere in the United

States, by providing the Accused Instrumentality and its associated server(s) and database(s) for

use as described above by Defendant’s customers. Defendant is a direct and indirect infringer,

and its customers using the Accused Instrumentality are direct infringers.

       99.       A letter was sent on behalf of Digi Portal on May 31, 2020, by e-mail to

Defendant stating that the Accused Instrumentality infringed claims of at least the ‘854 patent.

The May 31, 2020, letter included claim charts comparing the Accused Instrumentality to claims

of the ‘854 patent demonstrating infringement. Defendant therefore had actual knowledge of the

‘854 patent and its infringement at least as early as receiving the May 31, 2020, letter notifying

Defendant of its infringement.        Defendant has therefore also known that the use and

implementation of the Accused Instrumentality by its customers infringed at least one claim of

the ‘854 patent since at least receiving the May 31, 2020, letter.



                                                 87
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 88 of 91 PageID #: 88




       100.    On information and belief, since becoming aware of the ‘854 patent and of the

infringement through the making, using, and/or offering the Accused Instrumentality for use by

its customers, Defendant is and has been committing the act of inducing infringement by

specifically intending to induce infringement by providing the Accused Instrumentality to its

customers and by aiding and abetting its use in a manner known to infringe by Defendant. Since

becoming aware of the infringing use of the Accused Instrumentality, Defendant knew that the

use of the Accused Instrumentality by its customers constituted direct patent infringement.

Despite this knowledge, Defendant continued to encourage and induce its customers to use the

Accused Instrumentality to infringe as described above, and provided for use the Accused

Instrumentality to infringe. Defendant therefore knowingly induced infringement and specifically

intended to encourage and induce the infringement of the ‘854 patent by its customers.

       101.    On information and belief, since Defendant became aware of the infringement at

least as of the receipt of the May 31, 2020, letter, Defendant is and has been committing the act

of contributory infringement by intending to provide the Accused Instrumentality to its

customers knowing that it is a material part of the invention, knowing that its use was made and

adapted for infringement of the ‘854 patent, and further knowing that the system is not a staple

article or commodity of commerce suitable for substantially noninfringing use. Defendant was

aware that all material claim limitations are satisfied by the use and implementation of the

Accused Instrumentality by Defendant’s customers yet continued to provide the Accused

Instrumentality to its customers knowing that it is a material part of the invention. As described

above, since learning of the infringement at least by May 31, 2020, Defendant knew that the use

and implementation of the Accused Instrumentality by its customers was made and adapted for

infringement of the ‘854 patent. A new act of direct infringement occurred each time a customer




                                               88
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 89 of 91 PageID #: 89




used the Accused Instrumentality. After Defendant became aware that the use of the Accused

Instrumentality infringes at least one claim of the ‘854 patent at least as early as May 31, 2020,

Defendant knew that each such new use was made and adapted for infringement of at least one

claim of the ‘854 patent and Defendant continued to provide the Accused Instrumentality for

such infringing activities.       Furthermore, as described more fully above, the Accused

Instrumentality is not a staple article or commodity of commerce suitable for substantially

noninfringing use.

                                      IX. COUNT VII
                                  WILLFUL INFRINGEMENT

       102.    Upon information and belief, Defendant has been and now is willfully infringing

the asserted claims of the ‘854 patent in the State of Delaware, in this District, and elsewhere in

the United States. As explained above, Defendant was informed of its infringement of the ‘854

patent by way of the May 31, 2020, letter sent to Defendant by email including claim charts

demonstrating Defendant’s infringement. As a result of the letter, Defendant should have known

that its actions constituted an unjustifiably high risk of infringement. Despite the letter and

knowledge that the risk of infringement was either known or so obvious that it should have been

known, Defendant continued its infringing actions.

       103.    As a result of Defendant’s willful infringement, Digi Portal is entitled to an award

of treble damages.

                                      X. JURY DEMAND

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.




                                                89
  Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 90 of 91 PageID #: 90




                                 XII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

       a.      Judgment that one or more claims of United States Patent No. 8,352,854 have
               been infringed, either literally and/or under the doctrine of equivalents, by
               Defendant;

       b.      Judgment that one or more claims of United States Patent No. 5,983,227 have
               been infringed, either literally and/or under the doctrine of equivalents, by
               Defendant;

       c.      Judgment that one or more claims of United States Patent No. 7,171,414 have
               been infringed, either literally and/or under the doctrine of equivalents, by
               Defendant;

       d.      Judgment that one or more claims of United States Patent No. 7,565,359 have
               been infringed, either literally and/or under the doctrine of equivalents, by
               Defendant;

       e.      Judgment that one or more claims of United States Patent No. 9,626,342 have
               been infringed, either literally and/or under the doctrine of equivalents, by
               Defendant;

       f.      Judgment that Defendant indirectly infringes, both by inducement and
               contributory infringement, one or more claims of United States Patent No.
               8,352,854;

       g.      Judgment that Defendant willfully infringes one or more claims of United States
               Patent No. 8,352,854;

       h.      Judgment that Defendant account for and pay to Plaintiff all damages to and costs
               incurred by Plaintiff because of Defendant’s infringing activities and other
               conduct complained of herein, and an accounting of all infringements and
               damages not presented at trial;

       i.      Judgment that damages should be trebled as a result of Defendant’s willful
               infringement;

       j.      That Plaintiff be granted pre-judgment and post-judgment interest on the damages
               caused by Defendant’s infringing activities and other conduct complained of
               herein; and




                                                 90
 Case 1:20-cv-01010-MN Document 1 Filed 07/28/20 Page 91 of 91 PageID #: 91




       k.       That Plaintiff be granted such other and further relief as the Court may deem just
                and proper under the circumstances.


July 28, 2020                                   CHONG LAW FIRM, P.A.

OF COUNSEL:                                      /s/ Jimmy Chong
                                                Jimmy Chong (#4839)
                                                2961 Centerville Road, Suite 350
David R. Bennett                                Wilmington, DE 19808
Direction IP Law                                Telephone: (302) 999-9480
P.O. Box 14184                                  Facsimile: (877) 796-4627
Chicago, IL 60614-0184                          Email: chong@chonglawfirm.com
(312) 291-1667
dbennett@directionip.com                        Attorneys for Plaintiff Digi Portal LLC




                                                91
